               Case 2:20-cv-01571-JCC Document 14 Filed 11/09/20 Page 1 of 10



 1                                                                 The Honorable John C. Coughenour

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 8                               UNITED STATES DISTRICT COURT

 9                            WESTERN DISTRICT OF WASHINGTON

10                                            AT SEATTLE

11    In re:
                                                         Case No. 2:20-cv-01571-JCC
12    SETH BASIL COLCHESTER,
                                                         STIPULATION AND PROPOSED
13                      Petitioner,                      ORDER QUASHING WRIT OF
                                                         HABEAS CORPUS AND WARRANT
14             v.                                        IN AID OF WRIT
15    JEWEL LAZARO,
                                                         Noted for Hearing: November 6, 2020
16                      Respondent.
17

18                                          STIPULATION
19
               1.    On July 24, 2020, the Snohomish County Superior Court issued a writ of
20
     habeas corpus and warrant in aid writ of habeas corpus in Case No. 18-2-07242-31. The writ
21
     and the warrant directed the Sheriff of Snohomish County or any other peace officer in
22
     Washington to locate and take the minor child of Petitioner Seth Colchester and Respondent
23

24   Jewel Lazaro into custody and deliver the child to the Snohomish County Superior Court.

25             2.    The Superior Court’s order of that same day authorized placing the minor child

26   into the care and custody of Petitioner Seth Colchester, his designated agent, or the
27

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     STIPULATION AND PROPOSED                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                                                      701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                               Seattle, Washington 98104-7097
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 1   Washington Department of Social and Health Services if the matter could not be immediately
 2   heard in Superior Court.
 3
             3.       On October 25, 2020, Ms. Lazaro’s undersigned counsel accepted service of the
 4
     petition commencing the Snohomish County action.1 That same day, Ms. Lazaro removed that
 5
     action to this Court. Pending any further order of the Court, this Court now has jurisdiction
 6

 7   over the dispute.

 8           4.       To avoid the risk of emotional harm to their minor child from being placed in

 9   foster care or with a stranger pending the outcome of this action, Mr. Colchester and Ms.
10
     Lazaro stipulate to placing their minor child in the temporary care of Ms. Donna Turner, Mr.
11
     Colchester’s designated agent and the child’s maternal grandmother, pending further order of
12
     the Court, written agreement of the parties, or resolution of this action and subject to the
13
     conditions here. The child will reside at Ms. Turner’s home located at 524 Rhodora Heights
14

15   Road, Lake Stevens, Washington, 98258, and Ms. Turner will provide supervision over the

16   child at all times. Ms. Turner may also allow the child to be supervised by the child’s maternal
17   aunt, Jade Oliver, who resides at 114 N. French Avenue, Arlington, Washington, 98223. Ms.
18
     Lazaro shall transfer the child to Ms. Turner within three hours of filing this stipulation, and
19
     shall provide confirmation of the same through counsel. Mr. Colchester’s undersigned counsel
20
     has communicated to the Snohomish County Sheriff’s office that the parties were negotiating
21

22   this stipulation, and the Sheriff’s detective indicated that the Sheriff would temporarily cease

23   to enforce the arrest warrant in aid of writ.

24           5.       Neither Ms. Turner nor Ms. Oliver will release the minor child to any person
25   unless otherwise directed by the Court or written agreement of the parties. Both Mr.
26

27
     1
      A formal acceptance of service was signed by Respondent’s counsel and filed with the Court on November 4,
28   2020. Dkt. No. 6.
     STIPULATION AND PROPOSED                                                    ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                               -2-                           701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                                       Seattle, Washington 98104-7097
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 1   Colchester and Ms. Lazaro may continue to have videoconference calls with their minor child
 2   by Skype, FaceTime, or similar application while she is with Ms. Turner or Ms. Oliver and
 3
     Ms. Turner and Ms. Oliver agree to facilitate these calls. Ms. Turner will facilitate in-person
 4
     contact between the minor child and both Mr. Colchester and Ms. Lazaro, provided that both
 5
     will give Ms. Turner notice at least 24-hours before any planned visit with the proposed time
 6

 7   for the visit to ensure that Mr. Colchester and Ms. Lazaro do not come in contact with one

 8   another. Unless the parties agree in writing through counsel, Ms. Turner shall supervise all

 9   visits between the child and Mr. Colchester or Ms. Lazaro, which shall mean she shall remain
10
     in eyesight or, when this is not possible, within earshot of the child and the parent at all times.
11
     Any dispute over visitation should be raised between the parties through counsel, who may
12
     seek appropriate relief if they cannot agree to a resolution.
13
            6.      As evidenced by their signatures below, Ms. Turner and Ms. Oliver have read
14

15   this stipulation and order, they have accepted the terms of this stipulation and order, they agree

16   to be bound by the terms, and they understand that if they violate or allows either party to
17   violate any terms of this stipulated order, they may be held in contempt of court or otherwise
18
     may be sanctioned by the Court. By accepting the terms of this stipulation, Ms. Turner and
19
     Ms. Oliver agree that they are submitting themselves to the jurisdiction of the Court to enforce
20
     its orders. Ms. Turner and Ms. Oliver acknowledge that they may request to be relieved of this
21

22   responsibility at any time by providing written notice to the Court, the parties’ counsel, or the

23   parties that they no longer desires to serve in this role; but the terms of this order shall remain

24   binding on Ms. Turner, Ms. Oliver, and the parties until the Court has modified the order or
25   the parties reach an alternate written agreement. Ms. Turner’s or Ms. Oliver’s failure to abide
26
     by the terms of this order shall be grounds for modification of the order.
27

28
     STIPULATION AND PROPOSED                                              ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                           -3-                         701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                                 Seattle, Washington 98104-7097
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 1           7.     Subject to placing the child in Ms. Turner’s care under the terms above, the writ
 2   of habeas corpus and warrant in aid of the writ serve no purpose and, once the child is in the
 3
     care of Ms. Turner, are hereby quashed.
 4
             8.     Nothing in this stipulation will prejudice either party’s right to litigate the
 5
     factual and legal issues disputed in this action. Nor will anything in this stipulation constitute
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 7   evidence of wrongdoing by either party. The parties agree that this stipulation is not an

 8   admission by either party that he or she is unfit to serve as the primary custodial parent. The

 9   parties agree that the sole purpose of this stipulation is to confirm the designation and terms of
10
     care for Mr. Colchester’s agent as provided in the writ of habeas corpus and warrant in aid writ
11
     of habeas corpus originally entered in Snohomish County Case No. 18-2-07242-31. The
12
     parties agree this is not a custody order nor shall it serve as a modification of the custody
13
     orders in Spain. The parties agree that this stipulation shall not confer child custody
14

15   jurisdiction to the State of Washington or the United States. By consenting to the terms of this

16   order, the parties agree that Mr. Colchester is not consenting to personal jurisdiction in
17   Washington State or the United States.
18
             9.     To ensure there is no interference with any ruling of this Court relating to Mr.
19
     Colchester’s petition for return of child under the Hague Convention, the Court will issue its
20
     ruling under seal, preferably with notice to the parties that a ruling is forthcoming, and
21

22   dispatch a member of the U.S. Marshal’s Service to Ms. Turner or Ms. Oliver (wherever the

23   child is located) to await the unsealing of the Court’s ruling and ensure that the child is

24   transferred to the party designated by the Court. If Mr. Colchester is not within the District
25   when the Court issues its final ruling, he may designate an agent in his stead. This provision is
26
     without prejudice to a request for modification by the parties to safeguard both parties’
27
     appellate rights.
28
     STIPULATION AND PROPOSED                                              ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                           -4-                         701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                                 Seattle, Washington 98104-7097
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 1          10.     A proposed order granting the parties’ stipulation is below. On entry by the
 2   Court and notification to the Court that the child has been transferred to Ms. Turner, the writ of
 3
     habeas corpus and warrant in aid of writ are quashed. The Clerk shall then direct notice of this
 4
     stipulation and order to the Sheriff of Snohomish County, Washington and all peace officers in
 5
     Washington.
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     STIPULATION AND PROPOSED                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                          -5-                        701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                               Seattle, Washington 98104-7097
                                                                                       +1 206 839 4300
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 1   Dated: November 6, 2020

 2   SKELLENGER BENDER PS                        ORRICK, HERRINGTON & SUTCLIFFE LLP

 3    By:    /s/ Caleb O. Bonm (by authorization) By:    s/John W. Wolfe
                                                         s/Aaron P. Brecher
 4          Caleb O. Bonm (WSBA No. 42970)               s/Melanie D. Phillips
                                                         s/Caitlin Sheard
 5          1301 Fifth Avenue, Suite 3401                s/Shane McCammon
            Seattle, WA 98101-2605                       s/Alison Epperson
 6          Telephone: +1 206 623 6501                   s/Ciarra Carr
            caleb@skellengerbender.com
 7                                                      John W. Wolfe (WSBA No. 8028)
            Attorneys for Petitioner                    Aaron P. Brecher (WSBA No. 47212)
 8                                                      Melanie D. Phillips (WSBA No. 48945)
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                                                        Seattle, WA 98104-7097
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11                                                      jwolfe@orrick.com
                                                        abrecher@orrick.com
12                                                      mphillips@orrick.com
13
                                                        Caitlin Sheard
14                                                      (Pro Hac Vice Application Forthcoming)
                                                        Shane McCammon
15                                                      (Pro Hac Vice Application Forthcoming)
16                                                      Columbia Center
                                                        1152 15th Street N.W.
17                                                      Washington, D.C. 20005-1706
                                                        Telephone: +1 202 339 8400
18                                                      Facsimile: +1 202 339 8500
                                                        csheard@orrick.com
19                                                      smccammon@orrick.com
20
                                                        Alison Epperson
21                                                      (Pro Hac Vice Application Forthcoming)
                                                        Ciarra Carr
22                                                      (Pro Hac Vice Application Forthcoming)
23                                                      51 West 52nd Street
                                                        New York, NY 10019-6142
24                                                      Telephone: +1 212 506 5000
                                                        Facsimile: +1 212 506 5151
25                                                      aepperson@orrick.com
                                                        ccarr@orrick.com
26

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     STIPULATION AND PROPOSED                                         ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                       -6-                        701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                            Seattle, Washington 98104-7097
                                                                                    +1 206 839 4300
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 1                                               ORDER
 2
            Based on the parties’ stipulation above, IT IS SO ORDERED. On receipt of the
 3
     parties’ notice that the child has been transferred to the temporary care of Ms. Turner, the
 4
     Clerk shall serve a copy of this Order on the Sheriff of Snohomish County, Washington and all
 5
     peace officers in Washington providing that the writ of habeas corpus and arrest warrant in aid
 6
     of writ above are quashed.
 7
            Entered this 9th day of November, 2020.
 8
                                                   __________________________________
 9                                                 HONORABLE JOHN C. COUGHENOUR
10                                                 UNITED STATES DISTRICT JUDGE

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     STIPULATION AND PROPOSED                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                          -8-                        701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                               Seattle, Washington 98104-7097
                                                                                       +1 206 839 4300
          Case 2:20-cv-01571-JCC Document 14 Filed 11/09/20 Page 10 of 10



 1

 2                                 CERTIFICATE OF SERVICE
 3
            I certify that on November 6, 2020, I served a copy of the foregoing via email upon the
 4
     persons below not receiving electronic notifications through the Court’s CM/ECF system:
 5
            Shira Kaufman
 6          2811 E. Madison Street, Suite 202
 7          Seattle, WA 98112
            Telephone: +1 206 880 0674
 8          Facsimile: +1 206 548 4109
            shirak@shirakaufmanlaw.com
 9
            Donna Turner
10          524 Rhodora Heights Road
            Lake Stevens, Washington, 98258
11          Email: donnakturner64@gmail.com
12
            Jade Oliver
13          114 N. French Avenue
            Arlington, Washington, 98223
14          Email: jadenlazaro@gmail.com
15

16          Ian Johnson
            Anderson Hunter Law Firm, P.S.
17          2707 Colby Avenue, Suite 1001
            Everett, WA 98201
18          ijohnson@andersonhunterlaw.com
19                                                   Respectfully submitted,
20
                                                     s/Aaron P. Brecher
21                                                   Aaron P. Brecher (WSBA No. 47212)

22                                                   Attorney for Respondent
23

24

25

26

27

28
     STIPULATION AND PROPOSED                                         ORRICK, HERRINGTON & SUTCLIFFE LLP
     ORDER                                        -9-                       701 Fifth Avenue, Suite 5600
     Case No. 2:20-cv-01571-JCC                                            Seattle, Washington 98104-7097
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